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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION


UNITED STATES OF AMERICA,                          )
                                                   )
            Plaintiff(s),                          )
                                                   )
      vs.                                          )           Case No. 4:04CR572 JCH
                                                   )
JACEN LILE BRIDGES,                                )
                                                   )
            Defendant(s).                          )


                                               ORDER

          This matter is before the Court on Defendant’s pre-trial Motion to Suppress Statements, and

Motion to Suppress Evidence. Pursuant to 28 U.S.C. § 636(b), this matter was referred to United

States Magistrate Judge Frederick R. Buckles, who filed a Report and Recommendation on January

29, 2007. (Doc. No. 407). In his Report and Recommendation, Magistrate Judge Buckles

recommends that Defendant’s motions be denied. After de novo review of the entire record in this

matter, this Court adopts the Magistrate Judge’s recommendation that Defendant’s motions be

denied.

          Accordingly,

          IT IS HEREBY ORDERED that the Report and Recommendation of the United States

Magistrate Judge [Doc. No. 407] is SUSTAINED, ADOPTED, AND INCORPORATED herein.

          IT IS FURTHER ORDERED that Defendant’s Motion to Suppress Statements [Doc. No.

142] is DENIED.
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       IT IS FURTHER ORDERED that Defendant’s Motion to Suppress Evidence [Doc. No.

143] is DENIED.



Dated this 20th day of February, 2007.



                                            /s/ Jean C. Hamilton
                                            UNITED STATES DISTRICT JUDGE




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